                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                             Plaintiff,

              v.                                   Case No. 21-3016-01-CR-S-BCW

 PATRICIA ASHTON DERGES,

                             Defendant.

                    AMENDED NOTICE AND BILL OF PARTICULARS
                         FOR FORFEITURE OF PROPERTY

       The United States of America hereby files the following Notice and Bill of Particulars for

Forfeiture of Property.

       The Forfeiture Allegation in this case seeks forfeiture of all property, real and personal,

constituting and derived from any proceeds the defendant obtained directly and indirectly as a

result of the violations alleged in Counts One through Eight and 21 through 23, pursuant to Title

18, United States Code, Section 1343.

       The United States hereby gives notice that it is seeking forfeiture of the following property:

               approximately $287,565.33 in United States currency seized from a Great Southern
               Bank Account, ending in 4503, in the name of Ozark Valley Medical Clinic LLC,
               on or about March 24, 2021, an account controlled by Patricia Ashton Derges,




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as proceeds directly traceable to the violations alleged in Counts One through Eight and 21 through

23 of the Superseding Indictment.



                                             Respectfully submitted,

                                             Teresa A. Moore
                                             Acting United States Attorney

                                      By
                                             /s/ Shannon T. Kempf
                                             Shannon T. Kempf
                                             Assistant United States Attorney
                                             901 St. Louis Street, Suite 500
                                             Springfield, Missouri 65806-2511


                                CERTIFICATE OF SERVICE

       I hereby certify that on April 13, 2021, the foregoing motion was electronically filed with
the Clerk of the Court using the CM/ECF system for electronic delivery to all counsel of record.


                                             /s/Shannon T. Kempf
                                             Shannon T. Kempf
                                             Assistant United States Attorney




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